     Case 1:19-cv-00327-AW-GRJ Document 11 Filed 02/11/20 Page 1 of 4




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

                      CASE NO. 1:19-cv-327-AW-GRJ

LEE A. STEPHENS,

      Plaintiff,

v.

GEOVERA SPECIALTY
INSURANCE COMPANY,

     Defendant.
__________________________________/

     JOINT SCHEDULING REPORT AND REPORT OF THE PARTIES'
                     PLANNING MEETING

Plaintiff, LEE A. STEPHENS (“Plaintiff”), and Defendant, GEOVERA
SPECIALTY INSURANCE COMPANY (“Defendant”), pursuant to Fed. R. Civ.
P. 26(f) and Local Rule 16.1(b) and this Court’s Initial Scheduling Order (Doc.
5) dated January 8, 2020, submit this report of items discussed by the
undersigned attorneys for Plaintiff and Defendant by telephone on February 7,
2020. Plaintiff and Defendant agree that this case should be scheduled on the
Standard Track. Plaintiff and Defendant also report the following:

1.    MEETING: The following persons participated in a Rule 26(f)
      conference on February 7, 2020, by telephone conference:

      Tammy Hammack-Barber, Esquire representing the Plaintiff
      Kristina Marsh, Esquire representing the Defendant

2.    MAGISTRATE JUDGE JURISDICTION: The parties have conferred
      and do not agree to Magistrate Judge jurisdiction.
     Case 1:19-cv-00327-AW-GRJ Document 11 Filed 02/11/20 Page 2 of 4




3.   NATURE AND BASIS OF ALL CLAIMS AND DEFENSES:
     Plaintiff has instituted this breach of contract action against the
     Defendant, Geovera Specialty Insurance Company, for Defendant’s
     denial of a homeowner’s insurance claim for water damage related to
     the plumbing system. Defendant alleges that all amounts due under the
     policy of insurance have been tendered and the damages sought by the
     Plaintiff are not covered by the Policy.

4.   SETTLEMENT:

     It is unknown whether this matter can be settled at this time. The parties
     agree that mediation would be helpful in reaching a resolution.

5.   PROPOSED TIME TABLES AND CUT OFF DATES:
     The parties request that the Initial Scheduling Order be revised in
     accordance with the agreed deadlines set forth below to allow sufficient
     time for expert investigations to be completed and to accommodate the
     schedules of the parties, attorneys, witnesses, and experts:

     (a)   Joinder Of Other Parties: March 27, 2020
     (b)   Amendments To The Pleadings: April 30, 2020
     (c)   Plaintiff’s Expert Disclosure: May 15, 2020
     (d)   Defendant’s Expert Disclosure: May 30, 2020
     (e)   Plaintiff’s Rebuttal Disclosure: June 5, 2020
     (f)   Discovery Deadline: August 28, 2020
     (g)   Dispositive Motions/Motions For Summary Judgment:
           September 25, 2020.
     (h)   All Other Motions: October 23, 2020.
     (i)   Pretrial Disclosures: The parties propose submitting their pretrial
           disclosures pursuant to Fed.R.Civ.P. 26(a)(3) on or before
           November 6, 2020. The parties acknowledge that pursuant to this
           Court’s Initial Scheduling Order (Doc. 5) dated January 8, 2020,
           paragraph (2)(d) that this Court advises that it will enter a separate
           order setting a pretrial conference specifying the parties’
           comprehensive trial disclosure and preparation requirements. The
           parties include this date, therefore, for the sake of completeness.
         Case 1:19-cv-00327-AW-GRJ Document 11 Filed 02/11/20 Page 3 of 4




         (j)     Proposed Date For Trial: December 7, 20201.
                 Reason For Proposed Trial Date In Excess of 8 Months From
                 Date of Filing The Case:
                 This case was removed to this Court on December 18, 2019. On
                 January 16, 2020, the Plaintiff filed a Motion to Remand. On
                 January 27, 2020, Defendant filed its Response in Opposition to
                 Plaintiff’s Motion for Remand. The issues set forth in Plaintiff’s
                 Motion (Doc. 6) and Defendant’s Response (Doc. 8) are pending
                 before this Court.
                 This case involves multiple experts on each side, multiple
                 depositions, and a potential dispute as to policy interpretation. In
                 addition, Defendant’s experts must conduct an inspection of the
                 property, the plumbing, and the system alleged to be at issue in this
                 case. Likewise, additional investigation and inspections may
                 become necessary following the Mandatory Initial Disclosure and
                 expert disclosures set forth here. Finally, counsel for Defendant
                 has multiple trial conflicts from September 2020 through January
                 2021.

6.       DISCOVERY PLAN: The parties propose the following discovery plan:

         (a)      Discovery Will Be Needed On The Following Subjects: The
                  cause of the damages related to Plaintiff’s insurance claim and
                  cost to repair the damage.

         (b)      Electronic Data: Not applicable at this time.

         (c)      Maximum Number of Interrogatories, Requests For
                  Production, Requests For Admissions and/or Depositions;
                  Maximum Time For Depositions: The parties agree to follow the
                  Local Rules for the United States District Court for the Northern
                  District of Florida and the Federal Rules of Civil Procedure.

1
  The Defendant, GeoVera Specialty Insurance Company, tentatively agreed to this date in an effort to reach
compromise on a trial date without pushing trial of this matter into 2021. The Defendant, GeoVera Specialty Insurance
Company, hereby notifies this Court that the undersigned counsel and GeoVera have trial conflicts through January
2021. This proposed trial date conflicts with another case currently set for trial in the matter of Ultra Contractors,
LLC v. GeoVera Specialty Insurance Company, Case No. 6:19-cv-237-Orl-41GJK. The Defendant gives notice to the
Court at this time of this possible trial conflict and the potential need to seek a continuance of this case if one of the
two trial conflicts does not resolve in the next few months.
    Case 1:19-cv-00327-AW-GRJ Document 11 Filed 02/11/20 Page 4 of 4




     (d)   Supplemental Disclosures: Pursuant Fed.R.Civ.P. 26(e) the
           parties shall supplement a discovery response within 20 days of
           learning that the discovery response is incorrect and/or
           incomplete.

     OTHER MATTERS:

     The parties agree to exchange Mandatory Initial Disclosures, pursuant
     to Fed. R. Civ. P. 26(a)(1), on or before March 6, 2020.

  7. MANUEL FOR COMPLEX LITIGATION: The parties do not believe that
     this matter is subject to the Manual for Complex Litigation.

  DATED this 11th day of February, 2020.



s/Tammy Hammack-Barber                 s/Kristina L. Marsh________
Tammy Hammack-Barber                   Kristina L. Marsh
Florida Bar No. 105976                 Florida Bar Number 311080
The Nation Law Firm, LLP               Gordon Rees Scully Mansukhani
570 Crown Oak Centre Drive             601 S. Harbor Island Boulevard
Longwood, FL 32750                     Suite 109
Telephone: (407) 339-1104              Tampa, Florida 33602
Facsimile: (407) 339-1118              Telephone: (813) 444-9700
Email: jrauchwarg@nationlaw.com        Facsimile: (813) 377-3505
and thammack@nationlaw.com             E-mail: kmarsh@grsm.com;
Attorneys for Plaintiff                jmdeleon@grsm.com;
                                       tflynn@grsm.com
                                       kwarrington@grsm.com
                                       Attorney for Defendant
